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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

FEDERAL TRADE COMMISSION
600 Pennsylvania Avenue, NW
Washingion, DC 20580

and

COMMONWEALTH OF
PENNSYLVANIA

Strawberry Square

Harrisburg, Pennsylvania 17120

Plaintiffs,

THOMAS JEFFERSON UNIVERSITY
1020 Walnut Street
Philadelphia, Pennsylvania 19107

and

ALBERT EINSTEIN HEALTHCARE
NETWORK

5501 Old York Road

Philadelphia, Pennsylvania 19141

Defendants.

No. 20-cv- | 13

PROVISIONALLY REDACTED

 

 

COMPLAINT FOR TEMPORARY RESTRAINING ORDER
AND PRELIMINARY INJUNCTION

Plaintiffs, the Federal Trade Commission (“FTC” or “Commission”) and the

Commonwealth of Pennsylvania, acting by and through its Office of Attorney General, petition

this Court, pursuant to Section 13(b) of the Federal Trade Commission Act (“FTC Act”),

15 U.S.C. § 53(b), and Section 16 of the Clayton Act, 15 U.S.C. § 26, to enter a stipulated

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temporary restraining order and grant a preliminary injunction enjoining Defendant Thomas
Jefferson University (“Jefferson”) and Defendant Albert Einstein Healthcare Network
(“Einstein,” and together with Jefferson, “Defendants”), including their agents, divisions,
parents, subsidiaries, affiliates, partnerships, or joint ventures, from consummating their
proposed merger. Jefferson and Einstein entered a System Integration Agreement dated
September 14, 2018 (“Integration Agreement”), whereby Jefferson will become the sole member
of Einstein and the ultimate parent entity of Einstein (the “Transaction”). Absent this Court’s
action, Defendants will be free to complete the Transaction on or after 11:59 p.m. EST on
February 28, 2020.

Plaintiffs require the aid of this Court to maintain the status guo and prevent interim harm
to competition during the pendency of an administrative trial on the merits. The Commission has
already initiated the administrative proceeding pursuant to Sections 7 and 11 of the Clayton Act,
15 U.S.C. §§ 18, 21, and Section 5 of the FTC Act, 15 U.S.C. $45, The Commission filed its
adininistrative complaint on February 27, 2020. Pursuant to FTC regulations, the administrative
trial on the merits will begin on September 1, 2020. The administrative trial will determine the
legality of the Transaction and will provide all parties a full opportunity to conduct discovery

and present testimony and other evidence regarding the likely competitive effects of the

Transaction.
I.
NATURE OF THE CASE
I. The FTC and the Commonwealth of Pennsylvania ask this Court to enjoin

preliminarily the anticompetitive merger between Jefferson and Einstein. Jefferson and Einstein
are two of the leading providers of inpatient general acute care (“GAC”) hospital services and

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inpatient acute rehabilitation services in Philadelphia and Montgomery Counties. The proposed
Transaction would combine the Jefferson and Einstein systems to create the largest hospital
system in Philadelphia County and by far the largest hospital system in Montgomery County and
in the greater Philadelphia region.

2, Einstein and Jefferson hospitals offer a broad range of medical and surgical
diagnostic and treatment services that require an overnight hospital stay. Today, Defendants
compete to sell these inpatient GAC hospital services to commercial insurers and to provide
inpatient GAC hospital services to those insurers’ members.

3, Einstein operates GAC hospitals that compete directly and significantly with
Jefferson’s GAC hospitals. Located in North Philadelphia, Einstein’s flagship hospital, Einstein
Medical Center Philadelphia (“EMCP”), significantly competes with Jefferson’s Abington
Hospital (“Abington”), located in eastern Montgomery County, and Jefferson Frankford
Hospital, located in northeast Philadelphia. Einstein Medical Center Elkins Park (EMCEP”), a
GAC hospital inside a larger inpatient rehabilitation facility in eastern Montgomery County,
likewise significantly competes with Jefferson’s Abington Hospital and Jefferson Frankford
Hospital. In Montgomery County, Einstein Medical Center Montgomery (EMCM”)
significantly competes with both Jefferson’s Abington Hospital and Jefferson’s Abington-
Lansdale Hospital (“Lansdale”). The relevant geographic markets to assess the competitive
impact of the Transaction include GAC hospitals in the area around EMCP in North Philadelphia
(the “Northern Philadelphia Area”) and GAC hospitals in the area around EMCM in
Montgomery County (the “Montgomery Area”).

4, Jefferson and Einstein are close competitors for inpatient GAC hospital services.

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5. Post-Transaction, Defendants would control at least 60% of the inpatient GAC
hospital services market, as measured by commercially insured patient admissions in the
Northern Philadelphia Area, with only one other hospital system providing inpatient GAC
hospital services with any meaningful presence. Post-Transaction, Defendants also would
become the market leader in the Montgomery Area, controlling at least 45% of the inpatient
GAC hospital services market, as measured by commercially insured patient admissions, in the
Montgomery Area.

6. The U.S. antitrust enforcement agencies promulgated the 2010 U.S. Department
of Justice and Federal Trade Commission Horizontal Merger Guidelines (“Merger Guidelines”)
to “assist the courts in developing an appropriate framework for interpreting and applying the
antitrust laws.” Under the Merger Guidelines, a post-acquisition market concentration level
above 2,500 points, as measured by the Herfindahl-Hirschman Index (“HHI”), and an increase in
market concentration of more than 200 points renders an acquisition presumptively unlawful.
Based on commercially insured patient admissions, the Transaction would significantly increase
concentration in already highly concentrated markets for inpatient GAC hospital services, well

beyond the thresholds set forth in the Merger Guidelines. Thus, under the Merger Guidelines,

 
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the Transaction is presumptively unlawful in the inpatient GAC hospital services product market
in both the Northern Philadelphia Area and the Montgomery Area.

7. In addition to providing inpatient GAC hospital services, Defendants also operate
nationally renowned inpatient rehabilitation facilities (“IRF s”) that compete against each other
today. Einstein operates several IRFs under the name MossRehab (“Moss”) throughout the
greater Philadelphia region, and Jefferson operates Magee Rehabilitation Hospital (“Magee”) in
the Center City neighborhood of Philadelphia and two other IRFs in the greater Philadelphia
region,

8. Einstein and Jefferson IRFs provide advanced post-acute rehabilitation care for
patients treated at GAC hospitals for conditions such as stroke, traumatic brain injury, or spinal
cord injury. IRFs provide such inpatient acute rehabilitation services to only those patients who
can withstand and benefit from them. The relevant geographic market in which to analyze the
effects of the Transaction for inpatient acute rehabilitation services is the area around Einstein’s
Moss at Elkins Park (the “Philadelphia Area”). Together, Defendants operate six of the eight
IRFs in the Philadelphia Area.

9, Both Einstein and Jefferson compete vigorously for rehabilitation patients.

10. The Transaction will substantially lessen competition in the market for inpatient
acute rehabilitation services in the Philadelphia Area. Defendants are the largest providers of
inpatient acute rehabilitation services in the Philadelphia Area. Post-Transaction, Defendants
would control at least 70% of the inpatient acute rehabilitation services market by commercially

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insured patient admissions in the Philadelphia Area, with only one other IRF providing inpatient
acute rehabilitation services with any meaningful presence.

11. In the Philadelphia Area, the Transaction would significantly increase market
concentration in an already highly concentrated market for inpatient acute rehabilitation services
such that the Transaction is presumptively unlawful under the Merger Guidelines.

12. Today, Jefferson and Einstein compete for inclusion in commercial insurers’
hospital networks. A commercial insurer would find it difficult to market a health plan to
employers and their employees living or working in the Northern Philadelphia Area or the
Montgomery Area that excluded all of the GAC hospitals owned by Einstein and Jefferson.
Likewise, a commercial insurer would find it difficult to market a health plan to employers and
their employees living or working in the Philadelphia Area that excluded ali of the IRFs owned
- by Defendants. |

13. Hence, by eliminating competition between Defendants, the Transaction is likely
to increase Defendants’ bargaining leverage with commercial insurers and enhance Defendants’
ability to negotiate more favorable reimbursement terms, including reimbursement rates (L.e.,
prices). Faced with higher reimbursement rates and other less favorable terms, commercial
insurers will have to pass on at least some of those higher healthcare costs to employers and their
employees in the form of increased premiums, co-pays, deductibles, and other out-of-pocket
expenses. “Self-insured” employers that pay the cost of their employees’ healthcare claims
directly will bear the full and immediate burden of higher reimbursement rates and other less

favorable terms.

 
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14. Jefferson and Einstein have a history of upgrading medical facilities, improving
patient access, and offering more competitive reimbursement rates and terms to commercial
insurers because of competition from each other that will be lost if the Transaction goes forward.

15. The Transaction will substantially lessen competition and cause significant harm
to consumers. If Defendants consummate the Transaction, healthcare costs will rise, and the
incentive for Defendants to increase service offerings and improve the quality of healthcare will
diminish.

16. Entry or expansion by other GAC hospitals or IRFs will not be likely, timely, or
sufficient to offset the adverse competitive effects that likely will result from the Transaction.
Potential entrants would need to devote significant time and resources to conduct studies,
develop plans, acquire land or repurpose a facility, and construct and open a competitive GAC
hospital or IRF. Defendants’ reputations, size, and the breadth and depth of the inpatient GAC
hospital services and inpatient acute rehabilitation services they provide make it unlikely that
there will be entry on a sufficient scale to counteract or constrain post-Transaction price
increases.

17. Defendants have not substantiated any verifiable, merger-specific efficiencies.
Even if Defendants could identify some cognizable efficiencies resulting from the Transaction,
any savings likely to be passed on to patients are far outweighed by the Transaction’s potential
harm and thus would not be sufficient to justify the Transaction.

18. Preliminary injunctive relief restraining Defendants from proceeding with their
Transaction is necessary to prevent interim harm to competition during the Commission’s
ongoing administrative proceeding. Absent preliminary relief, Defendants can close the
Transaction and combine their operations, and the Commission and Commonwealth of

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Pennsylvania’s ability to fashion effective relief would be significantly impaired, or perhaps
even precluded, ifthe Transaction is found to be unlawful after a full administrative trial on the
merits and any subsequent appeals.

19. The parties have stipulated to the Court’s entry of a temporary restraining order
preventing Defendants from consummating the acquisition until after 11:59 p.m. EST on the
seventh calendar day after this Court rules on a motion for a preliminary injunction or until after
a date set by the Court. Such a temporary restraining order is necessary to preserve the status
quo and protect competition while the Court considers Plaintiffs’ application for a preliminary
injunction.

"i.

JURISDICTION AND VENUE

20. This Court’s jurisdiction arises under Section 13(b) of the FTC Act, 15 U.S.C.
§ 53(b); Section 16 of the Clayton Act, 15 U.S.C. § 26; and 28 U.S.C, §§ 1331, 1337, and 1345.
This is a civil action arising under Acts of Congress protecting trade and commerce against
restraints and monopolies and is brought by an agency of the United States authorized by an Act
of Congress to bring this action. Jefferson and Einstein, and their relevant operating entities and
subsidiaries, are, and at all relevant times have been, engaged in activities in or affecting
“commerce” as defined in Section 4 of the FTC Act, 15 U.S.C. § 44, and Section | of the
Clayton Act, 15 U.S.C. § 12, Defendants also are, and at all relevant times have been, engaged
in commerce in the Commonwealth of Pennsylvania.

21. Jefferson and Einstein transact business in the Eastern District of Pennsylvania
and are subject to personal jurisdiction therein. Venue, therefore, is proper in this district under

28 U.S.C. § 1391(b) and (c) and 15 U.S.C. § 53(b).

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22. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), provides in pertinent part:
(b) Whenever the Commission has reason to believe —

(1) that any person, partnership, or corporation is violating,
or is about to violate, any provision of law enforced by the
Federal Trade Conunission, and

(2) that the enjoining thereof pending the issuance of a
complaint by the Commission and until such complaint is
dismissed by the Commission or set aside by the court on
review, or until the order of the Commission made thereon
has become final, would be in the interest of the public —
the Commission by any of its attorneys designated by it for
such purpose may bring suit in a district court of the United
States to enjoin any such act or practice. Upon a proper
showing that, weighing the equities and considering the
Commission’s likelihood of ultimate success, such action
would be in the public interest, and after notice to the
defendant, a temporary restraining order or a preliminary
injunction may be granted without bond. ...

23, In conjunction with the Commission, the Commonwealth of Pennsylvania brings
this action for a preliminary injunction under Section 16 of the Clayton Act, 15 U.S.C. § 26, to
prevent and restrain Jefferson and Einstein from violating Section 7 of the Clayton Act, 15
U.S.C. § 18, pending the Commission’s administrative trial. The Commonwealth of
Pennsylvania has the requisite standing to bring this action because the Transaction would cause
antitrust injury in Pennsylvania for inpatient GAC hospital services and inpatient acute
rehabilitation services.

24. Section 16 of the Clayton Act, 15 U.S.C § 26, provides in pertinent part:

Any person, firm, corporation, or association shall be entitled to sue for and have
injunctive relief, in any court of the United States having jurisdiction over the
parties, against threatened loss or damage by a violation of the antitrust laws,
including section 13, 14, 18 and 19 of this title, when and under the same
conditions and principles as injunctive relief against threatened conduct that will
cause loss or damage is granted by courts of equity, under the rules governing
such proceedings, and upon the execution of proper bond against damages for an
injunction improvidently granted and a showing that the danger of irreparable loss
or damage is immediate, a preliminary injunction may issue... .

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25. The Transaction constitutes a transaction subject to Section 7 of the Clayton Act,

15 U.S.C § 18.
ill.
BACKGROUND
A.
The Parties
26. Plaintiff, the Commission, is an administrative agency of the United States

government established, organized, and existing pursuant to the FTC Act, 15 U.S.C. §§ 41 e¢
 seq., with its principal offices at 600 Pennsylvania Avenue, NW, Washington, District of
Columbia 20580. The Commission is vested with authority and responsibility for enforcing,
inter alia, Section 7 of the Clayton Act, 15 U.S.C. § 18, and Section 5 of the FTC Act, 15 U.S.C.
§ 45.

27. Plaintiff, the Commonwealth of Pennsylvania, is a sovereign state of the United
States. This action is brought by and through its Attorney General, who is the chief law
enforcement officer of the Commonwealth, with the authority to bring this action on behalf of
the Commonwealth pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26 and Section 732-
204(c) of the Commonwealth Attorneys Act, 71 P.S. § 732-204(c). The Office of the Attorney
General of the Commonwealth of Pennsylvania has its principal offices at Strawberry Square,
Harrisburg, Pennsylvania 17120.

28, | Defendant Jefferson, a Pennsylvania not-for-profit corporation, operates an
academic health system headquartered in Philadelphia that is the largest health system by
hospital beds in the greater Philadelphia region. It is aiso the second-largest employer in

Philadelphia, employing over 30,000 people, including approximately 6,100 physicians and
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practitioners and 7,400 nurses. For fiscal year 2019, Jefferson generated $5.2 billion in
revenues.

29. Jefferson operates 11 GAC hospitals in Pennsylvania and New Jersey and three
IRFs in Pennsylvania. Across all of its inpatient facilities, Jefferson discharges approximately
130,000 inpatients a year. Jefferson also operates over 50 outpatient and urgent care locations in
Pennsylvania and New Jersey.

30. Jefferson operates four GAC hospitals in the City of Philadelphia—Thomas
Jefferson University Hospital (“TJUH”), Methodist Hospital, Jefferson Frankford Hospital (f//a
Avia Frankford Hospital), and Jefferson Torresdale Hospital (f/k/a Aria Torresdale Hospital) —
and two GAC hospitals in Montgomery County-—Abington and Lansdale (together, f/k/a
Abington Heaith).

31. Jefferson has acquired a number of hospital systems and IRFs in recent years.
Since 2015, Jefferson has merged with Abington Health, Aria Health System, Kennedy Health,
and Magee. By virtue of its merger with Aria Health System, Jefferson also has a partial
ownership stake in Health Partners Plans, a not-for-profit health maintenance organization that
offers managed government insurance, including Medicaid and Medicare plans, to members in
Southeastern Pennsylvania. In December 2019, Jefferson signed definitive agreements to
acquire Temple University’s Fox Chase Cancer Center, Temple’s Bone Marrow Transplant
program, and Temple’s partial ownership interest in Health Partners Plans. Jefferson operates 12
colleges, schools, and institutes, including Sidney Kimmel Medical College, the fifth-largest
medical school in the country.

32. After merging with Abington Health in 2015, J efferson now owns and operates
two hospitals in Montgomery County. Abington is a 665-bed regional referral center and

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teaching hospital located in Abington Township in eastern Montgomery County, near the border
with Philadelphia County.! Lansdale is a 140-bed hospital in Lansdale, which is located in the
northern part of central Montgomery County. Subsequent to its merger with Aria Health System
in 2016, Jefferson gained control over three additional hospitals in the greater Philadelphia
region, including Jefferson Frankford, a 115-bed hospital in northeast Philadelphia.

33. Jefferson merged with Magee in 2018. Magee is located in the City of
Philadelphia and is currently undergoing a renovation that will bring its hospital beds down from
96 to 82. Jefferson also operates two IRF units within larger GAC hospitals—one at TTUH
named the Jefferson Acute Rehabilitation Unit and one at Abington named the Abington Acute
Rehabilitation Unit. Both have 23 beds.

34. Defendant Einstein, a Pennsylvania not-for-profit corporation, operates an
academic health system headquartered in North Philadelphia. Einstein operates three GAC
hospitals—one in Philadelphia and two in Montgomery County-——and five IRFs, Einstein also
operates 15 outpatient centers. Einstein discharges over 30,000 inpatients a year and employs
over 8,800 people, including over 500 physicians. Like Jefferson, Einstein has a partial
ownership stake in Health Partners Plans. For fiscal year 2019, Einstein generated $1.2 billion in
revenues,

35. Einstein provides inpatient GAC hospital services at two main locations. EMCP,
Einstein’s largest GAC hospital with 485 licensed acute care beds, is located in North |
Philadelphia. EMCP is a tertiary care teaching hospital and a Level 1 Trauma Center. EMCP is
the largest independent academic medical center in the greater Philadelphia region and trains

more than 400 residents and fellows each year in graduate medical education programs.

 

' This includes 23 hospital beds for inpatient acute rehabilitation services, as discussed supra.

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Einstein’s second GAC hospital is EMCM, a 191-bed hospital in East Norriton in central
Montgomery County. Einstein also owns and operates EMCEP, a 67-bed GAC hospital in
eastern Montgomery County that is located inside the larger Moss at Elkins Park IRF.

36. Einstein’s Moss provides inpatient acute rehabilitation services at frve IRFs in the
greater Philadelphia region. Moss at Elkins Park is a freestanding IRF with 130 licensed beds.
Moss also owns and operates an IRF unit at EMCP with 19 beds. Moss currently operates three
12-bed IRF units at non-Einstein hospitals. Two are at Jefferson hospitals—Jefferson Frankford
Hospital and Jefferson Bucks Hespital—and one is at Doylestown Hospital.

B.

The Transaction and the Commission’s Response

37. After several years of discussions between Jefferson and Einstein, Defendants
entered into the Integration Agreement on September 14, 2018, whereby Jefferson would
become the sole member and ultimate parent entity of Einstein. The Defendants value the
Transaction at i. The combined entity would operate 14 GAC hospitals, including 11
in Pennsylvania, and eight IRFs in Pennsylvania. The Transaction would make Jefferson—
already the largest health system by hospital beds in the greater Philadelphia region—even
larger, with over 1,000 more hospital beds than the next largest health system in the greater
Philadelphia region.

38, Pursuant to the Hart-Scott-Rodino Antitrust Improvements Act, 15 U.S.C. § 18a,
and a timing agreement entered into between Defendants and Commission staff, absent this
Court’s action, Defendants would be free to close the Transaction on or after 11:59 p.m. EST on

February 28, 2020.

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39. Following a thorough investigation, the Commission, on February 27, 2020, and
by a 4-0-1 vote, with Chairman Joseph Simons recused, found reason to believe that the
Transaction would violate Section 7 of the Clayton Act by substantially lessening competition.
That same day, the Commission initiated an administrative proceeding on the antitrust merits of
the Transaction before an Administrative Law Judge, and a merits trial will begin on September
1, 2020. The administrative proceeding provides a forum for all parties to conduct discovery,
followed by a merits trial with up to 210 hours of live testimony. The decision of the
Administrative Law Judge is subject to appeal to the full Commission, which, in turn, is subject
to judicial review by a United States Court of Appeals.

40. On February 27, 2020, the Commission also authorized its staff to pursue this
federal court proceeding to obtain preliminary injunctive relief under Section 13(b) of the FTC
Act.

Til.
THE RELEVANT SERVICE MARKETS

41. The Transaction threatens substantial harm to competition in two service markets:
(i) inpatient GAC hospital services sold and provided to commercial insurers and their insured
members; and (ii) inpatient acute rehabilitation services at IRFs sold and provided to commercial
insurers and their insured members. For each service market, a hypothetical monopolist could
profitably impose a small but significant and non-transitory increase in price (SSNIP”).
Because commercial insurers would accept a SSNIP rather than market a network that omitted
inpatient GAC hospital services, and would accept a SSNIP rather than market a network that
omitted inpatient acute rehabilitation services at IRFs, each of these service markets constitutes a

relevant market for analyzing the Transaction.

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A.

Inpatient GAC Hospital Services

42. Inpatient GAC hospital services sold and provided to commercial insurers and
their insured members is a relevant service market for assessing the Transaction’s effects on
competition. This service market encompasses a broad cluster of medical and surgical diagnostic
and treatment services offered by both Einstein and Jefferson that require an overnight hospital
stay. Inpatient GAC hospital services include, but are not limited to, many emergency services,
internal medicine services, and surgical procedures offered by both Defendants under similar
competitive conditions.

43. Although the Transaction’s likely effect on competition could be analyzed
separately for each individual inpatient service, it is appropriate to evaluate the Transaction’s
likely effects across this cluster of inpatient GAC hospital services because these services are
offered to patients in the Northern Philadelphia Area and the Montgomery Area under similar
competitive conditions. Thus, grouping the hundreds of individual inpatient GAC hospital
services into a cluster for analytical convenience enables the efficient evaluation of competitive
effects with no loss of analytic power.

44. Outpatient services are not included in the inpatient GAC hospital services market
because commercial insurers and patients cannot substitute outpatient services in response to a
price increase for inpatient GAC hospital services. Additionally, outpatient services are offered
by a different set of competitors under different competitive conditions than inpatient GAC
hospital services. |

45, Finally, the inpatient GAC hospital services market does not include services
related to psychiatric care, substance abuse, and rehabilitation services. These services also are

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offered by a different set of competitors under different competitive conditions than, and are not
substitutes for, inpatient GAC hospital services.
B.
Inpatient Acute Rehabilitation Services

46. Inpatient acute rehabilitation services at IRFs sold and provided to commercial
insurers and their insured members also is a relevant service market for assessing the
Transaction’s effects on competition. This service market encompasses a cluster of acute
rehabilitation services provided under similar competitive conditions to patients that require an
overnight stay and were previously treated at a GAC hospital (i.c., post-acute patients). Inpatient
acute rehabilitation services include, at a minimum, intensive multi-disciplinary rehabilitation
therapies at least three hours a day for five days per week, three face-to-face visits with a
physician per week, and 24-hour nursing care, inter alia.

47. Although the Transaction’s likely effect on competition could be analyzed
separately for each inpatient acute rehabilitation service, it is appropriate to evaluate the
Transaction’s likely effects across this cluster of inpatient acute rehabilitation services because
these services are offered to patients in the Philadelphia Area under similar competitive
conditions.

48. IRFs, which operate under a hospital license, provide inpatient acute rehabilitation
services, [RFs can exist either as units housed in larger hospitals providing inpatient GAC
hospital services (“IRF units”) or as standalone hospitals (“freestanding IRFs”). Freestanding
IRFs may house departments providing other services as well. For instance, a freestanding IRF
like Moss at Elkins Park can have a department—in this case, EMCEP—that offers inpatient
GAC hospital services. To obtain certification for reimbursement as an IRF by the Centers for

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Medicare and Medicaid Services, 60% of all patient discharges (Medicare or other) must have as
a primary diagnosis or comorbidity one of 13 specified conditions that typically require inpatient
acute rehabilitation services.

49, Other post-acute care services like subacute rehabilitation services provided at
skilled nursing facilities are not included in the market for inpatient acute rehabilitation services
because commercial insurers and patients cannot substitute these services for inpatient acute
rehabilitation services. Subacute rehabilitation services are offered by a different set of
competitors under different competitive conditions than inpatient acute rehabilitation services.

In fact, subacute rehabilitation services are often complementary to inpatient acute rehabilitation

services.

IV,
THE RELEVANT GEOGRAPHIC MARKETS

50. | The relevant geographic markets in which to analyze the effects of the
Transaction for inpatient GAC hospital services are the Northern Philadelphia Area and the
Montgomery Area. For inpatient acute rehabilitation services, the relevant geographic market is
the Philadelphia Area.

51. As with determining the appropriate service markets to analyze the Transaction,
the appropriate geographic markets in which to analyze the Transaction are the areas where a
hypothetical monopolist of the hospitals located in these areas could profitably impose a SSNIP
on the relevant services. Because commercial insurers would accept a SSNIP rather than market
insurance plans that exclude all hospitals providing inpatient GAC hospital services in the

Northern Philadelphia Area, all hospitals providing inpatient GAC hospital services in the

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Montgomery Area, or all IRFs providing inpatient acute rehabilitation services in the
Philadelphia Area, these are relevant geographic markets in which to analyze the Transaction.
A,
Inpatient GAC Hospital Services Geographic Markets

52. The Northern Philadelphia Area is approximately the area that includes the
following GAC hospitals in Philadelphia—EMCP, Jefferson Frankford Hospital, Temple
University Hospital, Temple’s Jeanes Hospital, Prime Healthcare’s Roxborough Memorial
Hospital, and Tower Health’s Chestnut Hill Hespital—and in eastern Montgomery County-—
EMCEP (housed inside Moss at Elkins Park) and Jefferson’s Abington. The Northern
Philadelphia Area also includes the following specialty hospitals in Philadelphia that provide
select inpatient GAC hospital services—St. Christopher’s Hospital for Children, Temple’s Fox
Chase Cancer Center, and Cancer Treatment Centers of America’s Philadelphia Comprehensive
Care and Research Center. The Northern Philadelphia Area is the main area of competition
between Einstein’s EMCP and EMCEP and the Jefferson hospitals with which they most directly
compete—Abington and Jefferson Frankford.

53, The Montgomery Area is approximately the area that includes the following GAC
hospitals in Montgomery County—EMCM, Jefferson’s Abington, Jefferson’s Lansdale, Main
Line Health’s Bryn Mawr Hospital, and Prime Healthcare’s Suburban Community Hospital—
and just outside Montgomery County—Main Line Health’s Paoli Hospital, Tower Health’s
Chestnut Hill Hospital, Tower Health’s Phoenixville Hospital, and Prime Healthcare’s
Roxborough Memorial Hospital. The Montgomery Area also includes a hospital in Montgomery
County that provides specialty surgical services—Physicians Care Surgical Hospital. The
Montgomery Area is the main area of competition between Einstein’s EMCM and the two

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Jefferson hospitals with which EMCM most directly competes—Abington and Lansdale. A
hospital can be in more than one relevant geographic market if it competes, as Abington does, in
more than one geographic area within which a hypothetical monopolist could profitably impose a
SSNIP.

54. Patients who receive inpatient GAC hospital services in the Northern Philadelphia
Area strongly prefer to obtain inpatient GAC hospital services close to where they live. It would
be very difficult for a commercial insurer to market successfully a health plan provider network
that excluded all hospitals located within the Northern Philadelphia Area. Hence, because a
significant number of patients within this geographic market would not view hospitals outside of
the market as practical alternatives, a hypothetical monopolist of all of the GAC hospitals within
the Northern Philadelphia Area could profitably impose a SSNIP.

55. Likewise, patients who receive inpatient GAC hospital services in the
Montgomery Area strongly prefer to obtain inpatient GAC hospital services close to where they
live. It would be very difficult for a commercial insurer to market successfully a health plan
provider network that excluded all hospitals located within the Montgomery Area. Hence,
because a significant number of patients within this geographic market would not view hospitals
outside of the market as practical alternatives, a hypothetical monopolist of all of the GAC
hospitals within the Montgomery Area could profitably impose a SSNIP.

B.
Inpatient Acute Rehabilitation Services Geographic Market

56. The Philadelphia Area is approximately the area that includes the following IRFs
in Philadelphia—Einstein’s Moss at EMCP, Einstein’s Moss at Jefferson Frankford Hospital,
Jefferson’s Magee, Jefferson Acute Rehabilitation Unit at TTUH, the Penn Institute for

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Rehabilitation Medicine, and Trinity Health’s Nazareth Hospital Acute Rehabilitation Unit—and
in eastern Montgomery County—Einstein’s Moss at Elkins Park and Jefferson’s Abington Acute
Rehabilitation Unit. The Philadelphia Area is the main area of competition between Einstein’s
Moss at Elkins Park, Moss at EMCP, and Moss at Frankford Hospital, and Jefferson’s Magee,
Jefferson Acute Rehabilitation Unit at TIUH, and Abington Acute Rehabilitation Unit.

57. As with inpatient GAC hospital services, patients who receive inpatient acute
rehabilitation services in the Philadelphia Area strongly prefer to obtain these services close to
where they live. It would be very difficult for a commercial insurer to market successfully a
health plan provider network that excluded all IRFs located within the Philadelphia Area.

Hence, because a significant number of patients within the Philadelphia Area would not view
IRFs outside of the area as practical alternatives, a hypothetical monopolist of all of the IRFs
within the Philadelphia Area could profitably impose a SSNIP.

Vz
MARKET STRUCTURE AND THE TRANSACTION’S PRESUMPTIVE ILLEGALITY

58. Jefferson and Einstein are two of the largest providers, by commercially insured
patient admissions, of inpatient GAC hospital services in the Northern Philadelphia Area and the
Montgomery Area. Likewise, Jefferson and Einstein are the two largest providers, by
commercially insured patient admissions, of inpatient acute rehabilitation services in the
Philadelphia Area. The Transaction will significantly increase concentration in already highly
concentrated markets for inpatient GAC hospital services and inpatient acute rehabilitation
services in the relevant geographies. These levels of concentration render the Transaction

presumptively unlawful under the Merger Guidelines.

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59, Under the Merger Guidelines, a merger or acquisition is presumed likely to create
or enhance market power-—and is presumptively unlawful—when it increases the HHI by more
than 200 points and results in a post-acquisition HHI above 2,500 points. Here, in each of the
three relevant markets, the Transaction exceeds this concentration threshold.

60. Based on commercial inpatient GAC admissions of patients seeking care in the
Northern Philadelphia Area, Defendants would control at least 60% of this market post-
Transaction. The Transaction would increase the HHI by at least 1,200 points in the Northern
Philadelphia Area, resulting in a post-Transaction HHI of at least 4,500, exceeding the threshold
-over which the Transaction is presumed likely to create or enhance market power—and is
presumptively unlawful.

61. Based on commercial inpatient GAC admissions of patients seeking care in the
Montgomery Area, Defendants would control at least 45% of this market post-Transaction. The
Transaction would increase the HHI in the Montgomery Area by at least 700 points, resulting in
a post-Transaction HHI of at least 3,500. These concentration measures make the Transaction
presumptively unlawful.

62. Post-Transaction, Defendants also would control at least 70% of the market for
inpatient acute rehabilitation services in the Philadelphia Area, The Transaction would increase
the HHI in the Philadelphia Area by at least 2,500 points, resulting in a post-Transaction HHI of
at least 5,900. These market concentration measures make the Transaction presumptively

unlawful.

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Vi

ANTICOMPETITIVE EFFECTS

A.

Competition Between Hospitals Benefits Consumers

63. Competition between hospitals (including IRFs) occurs in two distinct but related
stages. First, hospitals compete for inclusion in commercial insurers’ health plan provider
networks. Second, in-network hospitals compete to attract patients, including commercial
insurers’ health plan members.

64. In the first stage of hospital competition, hospitals compete to be included in
commercial insurers’ health plan provider networks. To become an in-network provider, a
hospital negotiates with a commercial insurer and, if mutually agreeable terms can be reached,
enters into a contract. The financial terms under which a hospital is reimbursed for services
rendered to a health plan’s members are a central component of those negotiations, regardless of
whether reimbursements are based on fee-for-service contracts, risk-based contracts, or other
types of contracts,

65.  In-network status benefits a hospital by giving it preferential access to the health
plan’s members. Health plan members typically pay far less to access in-network hospitals than
those that are out-of-network, All else being equal, an in-network hospital will attract more
patients from a particular health plan than an out-of-network one, This dynamic motivates
hospitals to offer lower rates and other more favorable terms to commercial insurers to win

inclusion in their networks.

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66. From the insurers’ perspective, having hospitals in-network is beneficial because
it enables the insurer to create a health plan provider network in a particular geographic area that
is attractive to current and prospective members, typically local employers and their employees,

67. Acritical determinant of the relative bargaining positions of a hospital and a
commercial insurer during contract negotiations is whether other, nearby comparable hospitals
are available to the commercial insurer and its health plan members as alternatives in the event of
a negotiating impasse. Alternative hospitals limit a hospital’s bargaining leverage and constrain
its ability to obtain more favorable reimbursement terms from commercial insurers. The more
attractive alternative hospitals are to a commercial insurer’s health plan members in a local area,
the greater the constraint on a hospital’s bargaining leverage. Where there are fewer meaningful
alternatives, a hospital will have greater bargaining leverage to demand and obtain higher
reimbursement rates and other more favorable reimbursement terms.

68. | Amerger between hospitals that are close substitutes in the eyes of commercial
insurers and their health plan members tends to increase the merged entity’s bargaining leverage.
Such mergers lead to higher reimbursement rates by eliminating an available alternative for
commercial insurers. This increase in leverage is greater when the merging hospitals are closer
substitutes for (and competitors to) each other. This is true even where other factors, such as an
insurer’s leverage, may impact the pre-merger bargaining dynamic. Preexisting leverage for the
insurer does not eliminate the concern about an increase in the post-merger bargaining leverage
of the merged entity.

69. Changes in the reimbursement terms negotiated between a hospital and a
commercial insurer, including increases in reimbursement rates, significantly impact the
commercial insurer’s health plan members. “Self-insured” employers rely on a commercial

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insurer for access to its health plan provider network and negotiated rates, but these employers
pay the cost of their employees’ healthcare claims directly and bear the full and immediate
burden of any rate increase in the healthcare services used by their employees. Employees may
bear some portion of the increased cost through increased premiums, co-pays, and deductibles.
“Fully-insured” employers pay premiums to commercial insurers—and employees pay
premiums, co-pays, and deductibles-—-in exchange for the commercial insurer assuming financial
responsibility for paying hospital costs generated by the employees’ use of hospital services.
When hospital rates increase, commercial insurers generally pass on a significant portion of these
increases to their fully insured customers in the form of higher premiums, co-pays, and
deductibles.

70. Inthe second stage of hospital competition, hospitals compete to attract patients
to their facilities, Because health plan members often face similar out-of-pocket costs for in-
network hospitals, hospitals in the same network compete to attract patients on non-price features
such as location, quality of care, access to services and technology, reputation, physicians and
faculty members, amenities, convenience, and patient satisfaction. Hospitals compete on these
non-price dimensions to attract all patients, regardless of whether they are covered by
commercial insurance (including Medicare Advantage and Medicaid Managed Care), traditional
Medicare and Medicaid, or are patients without commercial insurance. A merger of competing
hospitals eliminates this non-price competition and reduces the merged entity’s incentive to
improve and maintain service and quality. Providers also compete on price terms in this second
stage of competition in circumstances when patients pay the full cost of the procedure out of

pocket, regardless of whether they are commercially insured.

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B.

The Transaction Would Eliminate Beneficial Head-to-Head Competition and Increase
Bargaining Leverage

71. Jefferson and Einstein are close competitors for inpatient GAC hospital services.

Because Einstein and Jefferson offer close substitutes for inpatient
GAC hospital services, the Transaction would eliminate significant head-to-head competition
between Defendants post-merger.

72. Diversion analysis, a standard economic tool that uses data on where patients
receive hospital services to determine the extent to which hospitals are substitutes, confirms that
Einstein and Jefferson are close competitors for inpatient GAC hospital services. Diversion

analysis shows that if Einstein hospitals were to become unavailable to patients for inpatient
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GAC hospital services, at least 30% of EMCP’s patients, 35% of EMCEP’s patients, and 17% of
EMCMWM’s patients, respectively, would seek care at a Jefferson hospital. Diversion analysis
similarly shows that if Jefferson hospitals were unavailable to patients for inpatient GAC
hospital services, at least 11% of Abington patients, 7% of Lansdale patients, and 7% of
Jefferson Frankford patients, respectively, would seek care at an Einstein hospital. These
diversion analyses lead to predictions of significant post-Transaction price increases.

73. Similarly, Jefferson and Einstein are close competitors for inpatient acute

rehabilitation services.

74. Diversion analysis indicates that if Einstein’s Moss at Elkins Park were to become
unavailable to patients for inpatient acute rehabilitation services, at least 30% of Moss at Elkins
Park’s patients would seek care at a Jefferson IRF. Likewise, if Jefferson’s Magee were to
become unavailable to patients for inpatient acute rehabilitation services, at least 18% of
Magee’s patients would seek care at an Einstein IRF. These diversion analyses also lead to
predictions of significant post-Transaction price increases.

75. Offering hospital coverage in the Northern Philadeiphia Area and the

-Montgomery Area and IRF coverage in the Philadelphia Area is important for a commercial
insurer to market a health plan provider network successfully to employers with employees in

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these areas. Other hospitals and IRFs outside of these geographic markets are not adequate
substitutes for Jefferson and Einstein. Today, Jefferson and Einstein serve as key providers of
inpatient GAC hospital services and inpatient acute rehabilitation services for healthcare
consumers in these areas.

76. The Transaction would increase Defendants’ bargaining leverage in contract
negotiations with commercial insurers. This increase in bargaining leverage would cause the

Defendants to negotiate higher reimbursement rates and more favorable reimbursement terms.

77, The growth of “narrow network” and “tiered” health insurance products—which,
in contrast to “broad networks,” include less than all of the hospitals in a geographic market—
can be informative about alternative options within an insurer network. Such networks offer a
tradeoff to consumers by including fewer participating hospitals (or fewer participating hospitals
in a preferred benefit tier), but at often significantly discounted prices relative to other available
provider networks. Hospitals are willing to accept the lower reimbursement terms required to
patticipate in narrow and tiered networks with the expectation that they will gain increased. |

volumes of patients and procedures. Today, commercial insurers treat Defendants as substitutes

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when constructing narrow network or tiered network products for patients in the Northern
Philadelphia, Montgomery, and Philadelphia Areas.

78. By eliminating competition between Einstein and Jefferson, the Transaction will
give Defendants leverage to negotiate more favorable terms to participate in narrow and tiered
networks, including securing higher reimbursement rates,

Cc,

The Transaction Would Eliminate Vital Quality and Service Competition

79. Competition drives hospitals to invest in quality initiatives, new technologies,
amenities, equipment, and service offerings to differentiate themselves from competitors.
Jefferson and Einstein compete with one another across other various non-price dimensions, The
Transaction would eliminate this competition, which has provided GAC patients in the Northern |
‘Philadelphia and Montgomery Areas, and IRF patients in the Philadelphia Area, with higher
quality care and more extensive healthcare service offerings. Jefferson and Einstein closely track
each other’s quality and brand recognition, and Defendants have substantially invested in
improving and expanding their services and facilities to compete against one another.

80. Patients benefit from this direct competition in the quality of care and services
that Defendants offer them. The Transaction will dampen the merged firm's incentive to
compete on quality of care and service offerings to the detriment of all patients who use these
hospitals, including commercially insured, Medicare, Medicaid, and self-pay patients.

VII.

ENTRY BARRIERS
81. Neither entry by new market participants nor expansion by current market

participants would deter or counteract the Transaction’s likely harm to competition for inpatient

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GAC hospital services in the Northern Philadelphia or Montgomery Areas, or to inpatient acute
rehabilitation services in the Philadelphia Area.

82. New entry or expansion into the relevant markets would not be likely or timely
enough to offset the Transaction’s likely harmful competitive effects. Construction of a new
hospital (including an IRF) involves high costs and significant financial risk, including the time
and resources it would take to conduct studies, develop plans, acquire land or repurpose a
facility, garner community support, obtain regulatory approvals, and build and open the facility.
Expansion of existing hospitals and repositioning by non-hospital providers to become hospitals
would encounter similar barriers, inchiding substantial expense and time associated with
planning, receiving regulatory approvals, and construction.

83. Potential entry or expansion also would be insufficient to counteract the
anticompetitive effects of the Transaction. Entrants would face significant challenges in
replicating the competitiveness and reputation of either Einstein or Jefferson. Both Einstein and
Jefferson have established reputations for and substantial expertise in providing quality care,
have multiple hospitals in the relevant markets, generate a billion dollars or more in annual
revenue, provide healthcare services to tens of thousands of inpatients per year, and offer broad
clusters of both inpatient GAC hospital services and inpatient acute rehabilitation services.

VI.
EFFICIENCIES

84, Defendants have not substantiated verifiable, merger-specific efficiencies that
would be sufficient to rebut the strong presumption and evidence of the Transaction’s likely

significant anticompetitive effects in the relevant markets.

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IX,

LIKELIHOOD OF SUCCESS ON THE MERITS, BALANCE OF EQUITIES,
AND NEED FOR RELIEF

85. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), authorizes the Commission,
whenever it has reason to believe that a proposed acquisition is unlawful, to seek preliminary
injunctive relief to prevent consummation of the acquisition until the Commission has had an
opportunity to adjudicate the acquisition’s legality in an administrative proceeding. Section 16
of the Clayton Act, 15 U.S.C. § 26, authorizes the Commonwealth of Pennsylvania to sue for and
have injunctive relief to prevent threatened loss or damage from Defendants’ consummation of
the Transaction. |

86. In deciding whether to grant relief pursuant to 15 U.S.C. § 53(b), this Court
should balance the likelihood of the Commission’s ultimate success on the merits against the
equities. The principal public equity weighing in favor of issuance of preliminary injunctive
relief is the public’s interest in effective enforcement of the antitrust laws.

87. The Commission voted 4-0-1 that it has reason to believe that the Transaction
would violate Section 7 of the Clayton Act, 15 U.S.C. § 18, and Section 5 of the FTC Act, 15
U.S.C. § 45. In particular, the Commission is likely to succeed in demonstrating in the
administrative proceeding, among other things, that:

a, The Transaction would have anticompetitive effects in a market for
inpatient GAC hospital services in the Northern Philadelphia Area;

b. ‘The Transaction would have anticompetitive effects in a market for
inpatient GAC hospital services in the Montgomery Area;

c. The Transaction would have anticompetitive effects in a market for

inpatient acute rehabilitation services in the Philadelphia Area;
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d. Substantial and effective entry or expansion into the relevant service and
geographic markets is difficult, and would not be timely, likely, or
sufficient to offset the anticompetitive effects of the Transaction; and

e. The efficiencies that Defendants assert as resulting from the Transaction
are speculative, not merger-specific, and are, in any event, insufficient as a
matter of law to justify the Transaction.

88. Preliminary relief is warranted and necessary. The Commission voted 4-0-1 to
issue an administrative complaint. Should the Commission rule, after the full administrative
trial, that the Transaction is unlawful, reestablishing the status quo ante of competition would be
difficult, if not impossible, in the absence of preliminary injunctive relief from this Court. The
integration of Jefferson’s and Einstein’s operations, including the implementation of higher
prices and potential staff changes, would substantially impair any attempt to restore competition
to pre-Transaction levels.

89, In the absence of relief from this Court, substantial harm to competition could
occur immediately, including an increase in the costs that employers, their employees, and other
individuals in the Philadelphia region incur for their healthcare and a reduction in the quality of
healthcare administered. Because any meaningful pro-competitive benefits of the Transaction do
not outweigh the significant interim harm to competition and consumers, the equities weigh
strongly in favor of Plaintiffs’ request for preliminary injunctive relief.

90. Accordingly, the equitable relief requested here is in the public interest.
WHEREFORE, the Commission and the Commonwealth of Pennsylvania respectfully request
that the Court:

a, Enter the parties’ stipulated temporary restraining order;

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b. Preliminarily enjoin Defendants from taking any further steps to
consummate the Transaction, or any other acquisition of stock, assets, or
other interests of one another, either directly or indirectiy;

c. Retain jurisdiction and maintain the status quo until the administrative
proceeding, including all appeals, that the Commission has initiated
concludes;

d. Award costs of this action to Plaintiffs, including attorneys’ fees to the
Commonwealth of Pennsylvania; and

e. Award such other and further relief as the Court may determine is

appropriate, just, and proper.

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Dated: February 27, 2020

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Respectfully Submitted,

 

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Dated: February 27; 2020

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Respectfully submitted,

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 27th day of February, 2020, | filed the foregoing with

the Clerk of the Court.

Cc KO
CHARLES DICKINSON
Attorney for Plaintiff Federal Trade Commission

I HEREBY CERTIFY that on the 27th day of February, 2020, I served the foregoing on
the following counsel via electronic mail: |

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